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 1
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 6    ATTORNEY FOR Defendants,
      SARITH CHIM and SAY ENG
 7

 8
                                    UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10                                                ******
11    UNITED STATES OF AMERICA,                            Case No.: 1:13-CR-00136-001-AWI

12                    Plaintiff,
                                                           AMENDED STIPULATION AND ORDER
13            v.                                           TO CONTINUE CHANGE OF PLEA

14                                                         Date: May 18, 2015
      SARITH CHIM and SAY ENG,
                                                           Time: 10:00 a.m.
15                                                         Place: Courtroom 2
                      Defendants.
16

17            IT IS HEREBY STIPULATED by the parties hereto, through their respective

18    attorneys of record, that the Change of Plea hearing, presently set for May 18, 2015, at 10:00

19    a.m., be continued to June 22, 2015, at 10:00 a.m.

20            Additionally, counsel for Sarith Chim and Say Eng and Assistant United States

21    Attorney Grant Rabenn are working on a resolution of this case, but need additional time to

22    review discovery, case preparation and plea negotiations, until at least June 22, 2015, to resolve

23    this case.

24            Based on the above-stated findings, the ends of justice served by continuing this change

25    of plea as requested outweigh the interest of the public and the defendant in a trial within the

26    original date prescribed by the Speedy Trial Act.

27            For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

28    seq., within which trial must commence, the time period of May 18, 2015, through June 22,

                                                        1
                           AMENDED STIPULATION AND ORDER TO CONTINUE CHANGE OF PLEA
                                       CASE NO.: 1:13-CR-00136-AWI-BAM
     Case 1:13-cr-00136-DAD-BAM Document 374 Filed 05/14/15 Page 2 of 2
 1    2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it

 2    results from a continuance granted by the Court at defendant’s request on the basis of the

 3    Court's finding that the ends of justice served by taking such action outweigh the best interest

 4    of the public and the defendant in a speedy trial.

 5             IT IS SO STIPULATED.

 6                                                           Respectfully submitted,

 7    DATED:          May 14, 2015                     By: /s/Grant Rabenn
                                                           GRANT RABENN
 8                                                         Assistant United States Attorney
 9

10

11    DATED:          May 14, 2015                     By: /s/Anthony P. Capozzi
                                                           ANTHONY P. CAPOZZI
12                                                         Attorney for Defendants SARITH
                                                           CHIM and SAY ENG
13

14

15                                                ORDER

16             IT IS SO ORDERED. Good cause having been shown, the Change of Plea set for May

17    18, 2015, is hereby continued to June 22, 2015, at 10:00 a.m. Additionally, time shall be

18    excluded by stipulation from the parties and pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv).

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20    IT IS SO ORDERED.
21
      Dated:    May 14, 2015
22                                                 SENIOR DISTRICT JUDGE

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                          AMENDED STIPULATION AND ORDER TO CONTINUE CHANGE OF PLEA
                                      CASE NO.: 1:13-CR-00136-AWI-BAM
